                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

TRACI SHAW,                                  :
                                             :
               Plaintiff,                    :       CASE NO.: 2:23-cv-942
                                             :
vs.                                          :       JUDGE GRAHAM
                                             :
RICHARD WOZNIAK, et al.,                     :       MAGISTRATE JUDGE DEAVERS
                                             :
               Defendants.                   :

                        NOTICE OF INTENT TO ISSUE SUBPOENA

       Pursuant to Rule 45(b)(1) of the Federal Rules of Civil Procedure, PLEASE TAKE

NOTICE that Plaintiff intends to issue the attached subpoena to Mr. Stephen Zenner on January 17,

2024. All parties’ attorneys of record in the above-captioned matter are hereby provided sufficient

notice to object to the above-referenced subpoena in accordance with Rules 45 and 5 of the Federal

Rules of Civil Procedure. All documents received in response to the subpoena will be made

available to defendants’ counsel for inspection and copying promptly upon receipt of any response

to the subpoena. All counsel of record were simultaneously served unredacted copies of the attached

subpoena.

                                             Respectfully submitted,

                                             /s/ David A. Goldstein
                                             DAVID A. GOLDSTEIN (0064461)
                                             DAVID A. GOLDSTEIN CO., L.P.A.
                                             511 S. High Street, Suite 200
                                             Columbus, Ohio 43215
                                             (614) 222-1889
                                             (614) 222-1899(Fax)
                                             dgoldstein@dgoldsteinlaw.com
                                             Attorney for Plaintiff Traci Shaw
                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document has been sent by electronic mail this

17th day of January 2024 to Molly Gwin, Esq., Michael Loughry, Esq., Charles Schneider, Esq.,

Attorneys for Defendants.



                                             /s/ David A. Goldstein_____       _
                                             DAVID A. GOLDSTEIN (0064461)
                                             Attorney for Plaintiff Traci Shaw




                                                2
AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                            for the
                                                          SouthernDistrict
                                                       __________ Districtof
                                                                           of__________
                                                                              Ohio
                          TRACI SHAW
                                                                               )
                               Plaintiff                                       )
                                  v.                                           )      Civil Action No. 2:23-cv-942
                                                                               )
                 RICHARD WOZNIAK, et al.
                                                                               )
                              Defendant                                        )

                             SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                                                  MR. STEPHEN ZENNER
To:

                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
these matters:

 Place: Isaac Wiles                                                                    Date and Time:       Thursday, February 1, 2024
        2 Miranova Place #700                                                                               10:00 AM - 4:00 PM
        Columbus, Ohio 43215
          The deposition will be recorded by this method:                     Court Reporter

      ✔
      ’ Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:
                           **See attached Exhibit A.



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        01/17/2024
                                   CLERK OF COURT
                                                                                         OR
                                                                                                             /s/ David A. Goldstein
                                           Signature of Clerk or Deputy Clerk                                  Attorney’s signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 2:23-cv-942

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          ’ I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          ’ I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
                                           “EXHIBIT A”

                                           DEFINITIONS

        The word “document” or “documents” refers to any printed, written, taped, recorded,

graphic, emails, computerized print-out or other tangible matter, from whatever source, however

produced or reproduced, whether in draft or otherwise, whether sent or received, or neither,

including, but not limited to, the original, a copy (if the original is not available) and all non-

identical copies (whether different from the original because of notes made on or attached to such

copy or otherwise) of any and all writings, correspondence, letters, telegrams, cables, telexes,

contracts, proposals, agreements, minutes, acknowledgements, notes, memoranda, analyses,

projections, work papers, books, forecast or appraisals, papers, records, reports, diaries,

statements, questionnaires, schedules, computer programs, computer disks, books of accounts,

calendars, graphs, charts, transcripts, tapes, transcripts or recordings, photographs, pictures or film,

video tape, ledgers, registers, worksheets, summaries, digest, financial statements, and all other

information or data, records or compilations, including all underlying, supporting or preparatory

material now in your possession, custody, or control, available to you, your counsel, accountants,

agents, representatives, or associates. The term “document” or “documents” as used herein shall

be defined to the broadest extent permitted by Civil Rules and shall include, without limitation,

any and all records, data, correspondence, e-mails, memoranda, notes, letters, telegrams, telex

communications, calendars, planners, summaries or records, summaries of telephone

conversations and/or personal conversations or interviews, diary entries, drawings, sketches,

graphs, charts, interoffice documents, or copies of any of the foregoing, and any and all other

written, printed, typed, handwritten, recorded, transcribed, punched, taped, filmed, or graphic

material of any kind or nature including all drafts, copies, or reproductions thereof and any
information stored in computers, electronic personal data assistants (“PDA’s”), handheld devices,

telephones, or other data storage or processing equipment, translated or translatable into usable

form in the possession, custody, or control of any one or more of the Defendants or their attorneys,

accountants, tax preparers, employees, agents, or other representatives. “Document” or

“documents” also includes all drafts and copies that are not identical with the original, such as

those bearing markings, comments, or other notations not present on the original. “Documents” or

“documents” specifically includes documents kept by individuals in their desks, at home or

elsewhere.

        1.      “Electronically stored information” shall mean, in accordance with Federal Rule of
Civil Procedure 34, any documents, writings, drawings, graphs, charts, photographs, sound
recordings, images, and other data or data compilations stored in any medium from which
information can be obtained either directly or, if necessary, after translation by the responding
party into a reasonably usable form.

        2.       The term “communication” or “communicate” includes or requests information
relating to all oral communications and “documents” (as hereinabove defined), whether or not any
such document, or the information contained therein, was transmitted by its author to any other
person.

        3.     “You” and “your” shall mean Stephen Zenner, his agents, directors, officers,
members, shareholders, and/or employees, as well as any and all attorneys, experts, investigators,
or persons acting or purporting to act on his behalf.

        4.      “Riot” or “riots” shall mean the riots that occurred on or about May 30, 2020 at or
near the intersection of High Street and Goodale in Columbus, Ohio.

                     DOCUMENTS AND THINGS TO BE PRODUCED

       1. Any and all documents constituting, relating to, and/or referencing any
          communications and/or correspondence that you have had and/or exchanged with Mr.
          Richard Wozniak.

       2. Any and all documents constituting, relating to, and/or referencing any
          communications and/or correspondence that you have had and/or exchanged with
          Kathleen Garber, the prosecuting attorneys, and any other individual as they relate to
          the riots, Traci Shaw, and/or the above referenced case.
3. Any and all documents constituting, relating to, and/or referencing any
   communications and/or correspondence that you have had and/or exchanged Brad
   Nicodemus.

4. Any and all documents constituting, relating to, and/or referencing any
   communications and/or correspondence that you have had and/or exchanged with other
   investigators, as it related to the incident with Traci Shaw at or near the intersection of
   High Street and Goodale in Columbus, Ohio.

5. Any and all recordings, including but not limited to photographs, audio recordings, and
   video recordings, relating to the incident with Traci Shaw near the intersection of High
   Street and Goodale in Columbus, Ohio that occurred on or about May 30, 2020.

6. Any and all online profiles, comments, postings, messages (including without
   limitation, tweets, replies, retweets, direct messages, status updates, wall comments,
   groups joined, activity streams and blog entries), photographs, videos, e-mails, and
   online communications (included those posted by yourself or anyone on your behalf on
   Facebook and any and all other social media platforms), relating to the incident with
   Traci Shaw near the intersection of High Street and Goodale in Columbus, Ohio that
   occurred on or about May 30, 2020.

7. Any and all documents constituting, relating to, and/or referencing any
   communications and/or correspondence that you have had and/or exchanged with any
   and all of the following individuals:

       a.   Alisha Watters
       b.   Samantha Sumner
       c.   Jaci Kincaid
       d.   Haley Hensel

8. Any and all documents constituting, relating to, and/or referencing any
   communications and/or correspondence that you have had and/or exchanged with
   anyone as it relates to the incident with Traci Shaw near the intersection of High Street
   and Goodale in Columbus, Ohio on or about May 30, 2020.
